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                           UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION


UNITED STATES OF AMERICA,                   *
                                            * CASE NO.: 2:20CR-50
v.                                          *
                                            *
AURELIO MEDINA,                             *
    Defendant                               *


                         MOTION FOR LEAVE OF ABSENCE

       COMES NOW, the undersigned attorney, RONALD E. HARRISON II, and hereby moves

this Honorable Court for a leave of absence for the dates of April 11-13, and 18, 2022; May 23-

25, 2022; June 2, 3, and 6-10, 2022; July 25, 2022; October 31, 2022; November 1, 4-7 and 14,

2022; and December 5-9, and 12, 2022, for the purposes of out of town conferences and family

vacation.

       Respectfully submitted, this 4th day of February, 2022.




                                                    /s Ronald E. Harrison II
                                                    Ronald E. Harrison II
                                                    Georgia Bar No. 333270
                                                    Attorney for Aurelio Medina


The Harrison Firm
1621 Reynolds Street
Brunswick, GA 31520
(912) 264-3035
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                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


UNITED STATES OF AMERICA,                 *
                                          * CASE NO.: 2:20CR-50
v.                                        *
                                          *
AURELIO MEDINA,                           *
          Defendant                       *

                                         ORDER

      Upon consideration of the Motion for Leave of Absence by attorney RONALD E.

HARRISON II for the dates of April 11-13, and 18, 2022; May 23-25, 2022; June 2, 3, and 6-10,

2022; July 25, 2022; October 31, 2022; November 1, 4-7 and 14, 2022; and December 5-9, and

12, 2022, the same is hereby GRANTED.

       SO ORDERED, this _______ day of                               , 2022.



                                                  _________________________________
                                                  Judge, United States District Court
                                                  Southern District of Georgia
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                        UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION


UNITED STATES OF AMERICA,                    *
                                             * CASE NO.: 2:20CR-50
v.                                           *
                                             *
AURELIO MEDINA,                              *
          Defendant                          *

                               CERTIFICATE OF SERVICE

       This is to certify that I have this day served opposing counsel with a true and correct copy

of MOTION FOR LEAVE OF ABSENCE by using the CM/ECF system electronic filing system,

which will automatically send email notification of such filing to the following attorney of record:

                              Greg Gilluly, Jr.
                              Assistant United States Attorney
                              United States District Court
                              P.O. Box 8970
                              Savannah, GA 31412


       Respectfully submitted this 4th day of February, 2022.




                                                     /s Ronald E. Harrison II
                                                     Ronald E. Harrison II
                                                     Georgia Bar No. 333270
                                                     Attorney for Aurelio Medina

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